                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


CHRISTOPHER C. HENIGE,

       Plaintiff,

     v.                                                    Case No. 20-CV-6

BOARD OF REGENTS OF THE
UNIVERISTY OF WISCONSIN
SYSTEM, et al.,

      Defendants.


                                           ORDER


       Christopher C. Henige filed a pro se complaint against his former employer, the Board

of Regents of the University of Wisconsin System, and numerous other defendants. (Docket

# 1.) On February 11, 2021, I granted the defendants’ motion to dismiss the complaint.

(Docket # 12.) Count V was dismissed with prejudice; the remaining counts were dismissed

without prejudice. (Id. at 22–23.) Henige was granted leave to file an amended complaint

within 14 days of the date of the decision and order. (Id. at 23.) To date, Henige has failed to

file an amended complaint.

       IT IS HEREBY ORDERED that Henige shall have ten (10) days from the date of this

order to file an amended complaint. If Henige fails to submit an amended complaint in

accordance with this order, I will dismiss this action without further notice for failure to

prosecute.



       Dated at Milwaukee, Wisconsin this 8th day of March, 2021.




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                                BY THE COURT

                                s/Nancy Joseph_____________
                                NANCY JOSEPH
                                United States Magistrate Judge




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